60 F.3d 822NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Samuel E. JENKINS, Petitioner-Appellant,v.Edward W. MURRAY, Respondent-Appellee.
    No. 94-7410.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 22, 1995.Decided July 10, 1995.
    
      Samuel E. Jenkins, Appellant Pro Se.  Susan Campbell Alexander, Assistant Attorney General, Richmond, VA, for Appellee.
      E.D.Va.
      DISMISSED.
      Before HALL, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Jenkins v. Murray, No. CA-94-327-AM (E.D. Va.  Nov. 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    